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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     Case No. 19-CR-00147 (RC)

 v.
                                                   Hearing Date: 3/30/2021
 MUN CHOL MYONG,
       Defendant.



                                           ORDER



       Having considered the Joint Motion to Continue, it is this ___ of March, 2021, hereby

       ORDERED, that the status hearing currently scheduled for March 30, 2021 is hereby

rescheduled for April ___, 2021.



                                            ______________________________
                                            RUDOLPH CONTRERAS
                                            United States District Judge




                                               3
